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GERARD N. MISK, ESQ. (GNM 7428)
GINSBURG & MISK LLP

Attorneys for Plaintiffs
215-48 Jamaica Avenue

Queens Village, New York 11428
P: (718) 468-0500

F:; (718) 468-0592
gmisk@gmlawyers.net

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

L.G., by his mother and natural

guardian, JENNIFER GILMORE,

C.G., by his mother and natural Docket No.

guardian, ZOILA PATRICIA GARCES, 2:17-cv-00453 (ADS) (ARL)
A.D., by his mother and natural

guardian, NICOLE SUGRUE and

E.M., by his mother and natural

guardian, PAMALA MUNIZ,

Plaintiffs, PLAINTIFFS’
-against~ RULE 26 DISCLOSURES

LONG BEACH PUBLIC SCHOOLS, LISA

WEITZMAN, JEANMARIE LILLEY, LAUREN

SCHNEIDER, SABRINA CANTORE, VINCENT

RUSSO, DR. RANDIE BERGER, DR. MICHELLE

NATALI and DAVID WEISS, in their

individual and official capacities,

Defendants.

Plaintiffs, by their attorneys, GINSBURG & MISK LLP, hereby
make the following disclosures pursuant to F.R.C.P. Rule 26(a) (1).

(a) (1) (A) (4) The following individuals are likely to have
discoverable information regarding events which occurred in the
classroom of defendant Lisa Weitzman involving the infant
plaintiffs herein and other students;

Lisa Weitzman

Jeanmarie Lilley

Lauren Schneider
Sabrina Cantore

 
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Vincent Russo

Dr. Randie Berger
Dr. Michelle Natali
David Weiss

John Emmons

Roy Lester
Darlene Tagney
Dennis Ryan
Patrick Gallagher
Stewart Mininsky
Kathleen Casey
Joanne Rea

Kevin Richman
Renee Cielski
Laura Ragona
Dayna D’Alessio
Matthew Reiner
Amy Teemer Deale
Jaime Arkow

Ariel Silegman
Gina Calabrese
Aimee McNicholas
Steve Freeman
Kathleen Connolly
Parker Ramsey
Kristen Pipitone
Jean Schlegel
Rebecca Crowley
Kerry DeStefano
Patrice Krzeminski
Vilma Evangelista

Of the above list, most are believed to be current or former
employees of defendant Long Beach Public Schools.

that the individuals are no longer so employed, plaintiff does not

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currently have phone numbers or addresses.

(ii) Plaintiffs currently maintain in their possession a copy

of the class folder for plaintiff C.G. including but not limited to

his communications notebook.

(iii) At this time, plaintiffs cannot provide a computation

To the extent

 
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of each category of damages claimed.

(2) Plaintiffs have not retained an expert witness for
testimony at trial. However, plaintiffs reserve the right to amend
and/or supplement this response once an expert is retained.

Dated: Queens Village, New York
May 28, 2019
Yours, etc.,

GINSBURG & MISK LLP

BY: _———

GERARD N. MISK, ESQ. (GNM 7428)
Attorneys for Plaintiffs
215-48 Jamaica Avenue

Queens Village, New York 11428
(718) 468-0500

TO: CONGDON FLAHERTY O’ CALLAGHAN
Attorneys for Defendants
LISA WEITZMAN, JEANMARIE
LILLEY, LAUREN SCHNEIDER
333 Earle Ovington Boulevard #502
Uniondale, NY 11553
(516) 542-5900

SILVERMAN & ASSOCIATES

Attorneys for Defendants

LONG BEACH PUBLIC SCHOOLS,

SABRINA CANTORE, VINCENT,

RUSSO, DR. RANDIE BERGER,

DR. MICHELLE NATALI and DAVID WEISS
445 Hamilton Avenue-Suite 1102
White Plains, New York 10601

(914) 574-4510

 
